 Case 1:22-cv-00920-CFC Document 17 Filed 09/26/22 Page 1 of 3 PageID #: 70




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


MISSED CALL, LLC,                 )
                                  )
          Plaintiff,              )
                                  )
     v.                           )   Civ. No. 22-739-CFC
                                  )
FRESHWORKS, INC.,                 )
                                  )
          Defendant.              )

MISSED CALL, LLC,                 )
                                  )
          Plaintiff,              )
                                  )
     V.                           )   Civ. No. 22-740-CFC
                                  )
T ALKDESK, INC.,                  )
                                  )
          Defendant.              )

MISSED CALL, LLC,                 )
                                  )
          Plaintiff,              )
                                  )
     v.                           )   Civ. No. 22-742-CFC
                                  )
TWILIO INC.,                      )
                                  )
          Defendant.              )
 Case 1:22-cv-00920-CFC Document 17 Filed 09/26/22 Page 2 of 3 PageID #: 71




SAFEIPLLC,                          )
                                    )
            Plaintiff,              )
                                    )
     V.                             )   Civ. No. 22-918-CFC
                                    )
COPYLEAKS, INC.,                    )
                                    )
            Defendant.              )

SAFE IP LLC,                        )
                                    )
            Plaintiff,              )
                                    )
     v.                             )   Civ. No. 22-919-CFC
                                    )
GRAMMARLY, INC.,                    )
                                    )
            Defendant.              )

SAFE IP LLC,                        )
                                    )
            Plaintiff,              )
                                    )
     v.                             )   Civ. No. 22-920-CFC
                                    )
PROCTORIO, INC.,                    )
                                    )
            Defendant.              )


                         MEMORANDUM ORDER

      Whereas the second amended corporate disclosure forms filed in the above-

captioned cases identify Heman Perez and/or David Ghordanpoor as the owner of



                                        2
  Case 1:22-cv-00920-CFC Document 17 Filed 09/26/22 Page 3 of 3 PageID #: 72




a limited liability company that is alleged to own in whole or in part a named

plaintiff; and

      Whereas the Court has concerns about the accuracy of the amended

corporate disclosure statements;

      NOW THEREFORE, at Wilmington on this Twenty-sixth day of September

in 2022, it is HEREBY ORDERED that:

       1. The Court will hold on October 24, 2022 at 9 :00 a.m. an evidentiary

          hearing to determine whether the amended corporate disclosure

          statements are accurate;

      2. The following individuals shall attend the hearing in person: Jimmy

          Chong; William P. Ramey, III; Heman Perez; and David Ghordanpoor.




                                                                        IEF JUDGE




                                         3
